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Defendant

 

MOTION FOR THE APPOINTMENT OF COUNSEL

I request that the Court appoint an attorney to represent me in the matter cited above. In support of this motion I have
attached the following:

61 An affidavit relating to my ability to pay costs and fees.

2. Other material, if any.

 

 

 

 

I have made the following efforts to obtain counsel from legal aid or legal services organizations or individual
attorneys Without payment of a fee or on a contingent fee basis, and have been unabe to obtain the services of
counsel:

 

 

 

 

Date (// X/O}// 0

Signature Ol/e€;#\ /Mv\

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